      Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 1 of 12 PageID #:390




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MATTHEW HAVRILLA, CYNTHIA
 DAWSON, ALDEN HENRIKSEN, MELODY
 DESCHEPPER, CHRISTOPHER TILTON, and                 Case No. 22 C 4126
 MARK HACKETT, individually and on
 behalf of all others similarly situated,            Judge Nancy L. Maldonado

                                                     Magistrate Judge M. David Weisman
                              Plaintiffs,

 v.

 CENTENE CORPORATION, CENTENE
 MANAGEMENT COMPANY LLC, and
 CELTIC INSURANCE COMPANY,

                              Defendants.

                           PLAINTIFFS’ MOTION TO COMPEL
        Plaintiffs respectfully move under Federal Rule of Civil Procedure 37 for the Court to

compel Defendants Centene Corporation, Centene Management Company LLC, and Celtic

Insurance Company to: (1) produce the names and job titles of the persons for whom

Defendants have preserved ESI; (2) produce responsive documents from Plaintiffs’ proposed

custodians; (3) provide information regarding the non-custodial documents produced thus

far; and (4) produce discovery from the time period relevant to this action, which is

October 1, 2013 to the present.

I.     Summary and Statement Under Local Rule 37.2

        The parties have reached an impasse regarding discovery. Despite conferring several

times since discovery began in November 2022, the parties have been unable to make

progress on the most basic of topics: (1) the identification of custodians who may have

documents and data responsive to Plaintiffs’ discovery requests; (2) the sources, locations,
      Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 2 of 12 PageID #:391




and authors of the non-custodial documents Defendants have produced to date; and (3) the

relevant time frame for discovery.

        Plaintiffs are requesting foundational discovery that will enable them to determine

which of Defendants’ employees have information relevant to this case. The information

sought by Plaintiffs should have been produced months ago and imposes little to no burden

on Defendants.

        This discovery gridlock is the result of Defendants having continually failed to meet

their fundamental discovery obligations, despite the requests and diligent efforts of Plaintiffs’

counsel. The good-faith efforts of Plaintiffs’ counsel are demonstrated by the parties’ written

correspondence, as well as by telephonic meetings on January 16, February 16, and

February 24, 2023, in accordance with Federal Rule of Civil Procedure 37. At those

telephonic meetings, Plaintiffs were represented by Jennifer Murray of Terrell Marshall Law

Group and Zoran Tasić of Wexler Boley & Elgersma LLP, and Defendants were represented

by Steve Cady of Williams & Connolly LLP.

II.    Background

        In October 2022, the Court adopted in part the parties’ jointly proposed schedule,

thereby providing that discovery would commence on November 18, 2022. Dkt. No. 21,

Minute Entry of Oct. 27, 2022.

        On November 18, 2022, Plaintiffs served on Defendants their initial disclosures and

first set of document requests. The same day, Plaintiffs also provided to Defendants a list of

proposed Plaintiff-side custodians and search terms. Custodians are simply persons who are

likely to possess relevant documents, information, or other materials. Documents in those

person’s possession are “custodial documents,” whereas “noncustodial documents” are those


                                              –2 –
   Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 3 of 12 PageID #:392




that are not associated with an individual custodian. Noncustodial documents may be stored

in various structured systems, including (among others) databases, collaboration tools, public

folders, discussion databases, or shared network folders.

       Although not ordered by the Court, an exchange of custodians and search terms on

November 18 had been agreed to in the parties’ jointly proposed case schedule.

Dkt. No. 17-1. The exchange also had been suggested by this Court in order to promote

efficiency. Dkt. No. 21, Minute Entry of Oct. 27, 2022.

       Defendants did not propose any custodians or search terms on November 18 but did

serve their initial disclosures. Defendants’ disclosures were deficient in several respects.

Among other things, Defendants did not provide the name of a single individual likely to

have discoverable information that Defendants may use to support their claims or defenses,

as required by Rule 26. Fed. R. Civ. P. 26(a)(1)(A)(i) (providing that “party must, without

awaiting a discovery request, provide to the other parties . . . the name and, if known, the

address and telephone number of each individual likely to have discoverable information . . .

that the disclosing party may use to support its claims or defenses”). Instead, Defendants’

disclosures unhelpfully stated that persons likely to have discoverable information were

“Defendants’ employees who worked on the topics raised by plaintiffs.” Ex. 1, Defs.’ Initial

Disclosures, at 3.

       A month later, Defendants responded to Plaintiffs’ first set of document requests.

Ex. 2, Defs.’ Resps. and Objs. to Pls.’ First Set of Reqs. for Prod. of Docs. Like Defendants’

initial disclosures, their objections were deficient, consisting almost entirely of general

boilerplate objections that do not comply with Federal Rules of Civil Procedure 34(b)(2)(B).




                                              –3 –
   Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 4 of 12 PageID #:393




See Ex. 3, Letter from Z. Tasić to S. Cady (Jan. 4, 2023) (explaining why Defendants’

“objections to the RFPs are improper and ineffectual”).

       The parties held a telephonic meeting on January 16, 2023 to discuss Plaintiffs’ first

set of document requests, the relevant time period, Defendants’ deficient initial disclosures,

Defendants’ failure to propose custodians or search terms, and Defendants’ document

productions. Defendants had by this time produced approximately 14,000 non-custodial

documents, the majority of which are plan documents that are publicly available on

Defendants’ websites. None of the electronically stored documents produced has the

metadata and coding fields required by the Court’s Agreed Order Regarding Production of

Electronically Stored Information and Paper Documents (“Order Regarding Production”),

Dkt. No. 37 at 17–19, Appendix 1.

       One of the issues discussed during the January 16 meet and confer was Defendants’

failure to identify— either through initial disclosures or by proposing custodians— persons

who may have knowledge or documents relevant to the case. Defendants stated that they

would get back to Plaintiffs on that issue by the end of the week.

       On January 20, Defendants provided the “first supplement” to their initial

disclosures. In the document, Defendants identified by name six persons who were likely to

have discoverable information. Ex. 4, Defs.’ Initial Disclosures First Suppl., at 3. Like the

initial disclosures, Defendants’ supplemental disclosures were deficient in a number of ways.

Among other things, Defendants provided the same unhelpfully generic description of the

subjects of which the listed individuals had knowledge: “Allegations in the Complaint,

including regarding provider networks and provider directories, and Plaintiffs’ individual




                                             –4 –
   Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 5 of 12 PageID #:394




experiences receiving health care.” Id. Defendants still did not propose any Defendant-side

custodians or search terms.

       Plaintiffs attempted to move discovery forward by submitting to Defendants both

(1) a list of proposed Defendant-side custodians and (2) a list of proposed search terms to run

on those custodians’ electronically stored information. Because of Defendants’ failure to

participate in the discovery process, Plaintiffs had to rely primarily on LinkedIn to identify

potential custodians. On February 3, Plaintiffs sent their custodian and search-term proposals

to Defendants, along with a letter again documenting Defendants’ failure to participate in

discovery and to comply with the Rules and Court orders governing discovery. See Ex. 5,

Letter from J. Murray to S. Cady (Feb. 3, 2023); Ex. 6, Pls.’ Proposed Custodians; Ex. 7,

Pls.’ Proposed Search Terms.

       The parties next held a telephonic meeting on February 16. At this meeting, Plaintiffs’

counsel pressed Defendants on several issues. Plaintiffs’ counsel asked for a description of

the ESI that was being preserved by Defendants. Defendants were unable to answer the

question, even though the exchange of such information is required by this Court’s Order

Regarding Production. Dkt. No. 37, Order Regarding Prod., at 1 (“The parties will confer

regarding a list of the types of ESI they believe should be preserved, including a description

of systems, if any, that contain ESI not associated with individual custodians; and names of

the custodians, and general job titles or descriptions of custodians, for whom they believe

ESI should be preserved.”).

       When asked why they had not proposed any custodians or search terms, Defendants

stated that the six persons identified in the supplement to Defendants’ initial disclosures were

the proposed custodians and that they did not want to discuss search terms before agreeing


                                              –5 –
   Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 6 of 12 PageID #:395




on custodians. When asked to provide the job titles and descriptions for the six persons listed

in the supplemental disclosures, Defendants stated that they did not know their titles but

identified them as the “
                       heads” of Ambetter networks in Texas, Ohio, Washington, Florida,

and nationally. Defendants likewise could not identify which company employed any of the

six persons listed in the supplemental disclosures. Despite being unable to provide the most

basic information about these six individuals, Defendants represented that they were

“probably the best” choices for custodians.

       The only other reason Defendants offered for proposing the six custodians is that it

cost a few thousand dollars to “pull” the documents for each custodian, and Defendants had

already pulled these custodians’ documents in other litigation. According to Defendants,

keeping the number of custodians low was warranted in order to save Defendants money.

       Plaintiffs’ counsel reminded Defendants that this action was a multi-billion-dollar

RICO case involving Ambetter plans sold to millions of people across 26 states. Plaintiffs’

counsel told Defendants that, given the amount in controversy, Defendants’ access to the

relevant information, and Defendants’ resources, six custodians was insufficient. Plaintiffs’

counsel informed Defendants that if they could not propose more than six custodians by

February 22, 2023, the parties would be at an impasse and Plaintiffs would involve the Court.

       On February 22, Defendants sent a letter to Plaintiffs once again proposing as

custodians only the six persons named in Defendants’ supplemental disclosures. Ex. 8,

Letter from S. Cady to J. Murray and Z. Tasić (Feb. 22, 2023).

       The parties spoke on the telephone again two days later, on February 24. On this call,

Plaintiffs’ counsel stated that it was now three months into discovery and that no progress had

been made due to the lack of effort by Defendants. Plaintiffs informed Defendants that they


                                              –6 –
   Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 7 of 12 PageID #:396




would move to compel unless Defendants by the following week: (1) produced the names and

job titles of the persons for whom Defendants have preserved ESI; (2) agreed to Plaintiffs’

proposed custodians; (3) provided information regarding the provenance of the non-custodial

documents produced thus far; and (4) agreed that, for purposes of discovery, the relevant

period is October 1, 2013 to the present. On the same day, Plaintiffs sent a formal letter

memorializing their request, along with a list of 37 proposed custodians. Ex. 9, Letter from Z.

Tasić to S. Cady (Feb. 24, 2023); Ex. 10, Pls.’ Proposed Custodians (Feb. 24, 2023).

       Defendants declined to meet a single one of Plaintiffs’ requests, thus prompting the

instant motion to compel.

III. Argument

       Defendants’ refusals to provide the documents and information requested by Plaintiffs

violate both the Court’s Order Regarding Production and Rule 26(b).

       As an initial matter, the Court’s Order Regarding Production requires Defendants to

provide to Plaintiffs (1) the names and job titles of the persons for whom Defendants have

preserved ESI and (2) information regarding the provenance of non-custodial documents that

are produced:

           The parties will confer regarding a list of the types of ESI they believe
           should be preserved, including a description of systems, if any, that
           contain ESI not associated with individual custodians; and names of the
           custodians, and general job titles or descriptions of custodians, for
           whom they believe ESI should be preserved.

Dkt. No. 37, Order Regarding Production, at 1 (emphasis added).

       By refusing to provide this information, Defendants are obstructing discovery. As it

stands, Plaintiffs have no way to determine the persons who can properly testify about the

produced non-custodial documents to authenticate them or explain their contents.


                                             –7 –
   Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 8 of 12 PageID #:397




Defendants’ refusal to provide this basic information also violates the Court’s Order

Regarding Production. That alone warrants this Court’s compelling Defendants to produce

the requested information.

       As for Plaintiffs’ proposed custodians and relevant period for discovery, Federal Rule

of Civil Procedure 26(b)(1) provides that a party “may obtain discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

needs of the case.” To determine whether discovery is proportional to the needs of the case,

the Court should consider:

           1. “the importance of the issues at stake in the action,”

           2. “the amount in controversy,”

           3. “the parties’ relative access to relevant information,”

           4. “the parties’ resources,”

           5. “the importance of the discovery in resolving the issues,” and

           6. “whether the burden or expense of the proposed discovery outweighs its
              likely benefit.”

Fed. R. Civ. P. 26(b)(1).

       Here, every one of these factors cuts in favor of granting the instant motion.

       Issues at stake. In brief, what’s at issue in this case is whether Defendants engaged in

a decade-long scheme to defraud millions of consumers of billions of dollars by selling them

health-insurance plans with sham provider directories. This issue is of monumental

importance not only because of the monetary damages due Class Members but also because

Defendants’ fraud deprived many Class Members of necessary health care.

       Amount in controversy. The amount in controversy is substantial. There are

currently two similar cases pending in federal courts in Ohio and Texas, and the plaintiffs’


                                             –8 –
   Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 9 of 12 PageID #:398




expert reports in those cases calculated total premium overcharges for Ambetter beneficiaries

in those states to be $40.7 million in Ohio and $1.2 billion in Texas.1 Given that this class

action covers 26 states— and that the RICO statute provides for treble damages— the amount

in controversy almost certainly exceeds $10 billion.

       Access to information. Defendants have exclusive control over the information and

documents requested by Plaintiffs.

       Parties’ resources. Defendants have enormous resources at their disposal. As stated

in Plaintiffs’ Complaint, Defendant Centene Corp. “is a giant in the health-insurance

industry. The company’s total revenue in 2021 was $126 billion, and it reported $850 million

in profits for the first quarter of 2022. As of July 2022, the company’s market cap is $52.43

billion.” Dkt. No. 1, Class Action Compl., at ¶ 2. Defendant Centene Corp. is the fifth

largest health-insurance company in the United States by market share.2 Since the filing of

Plaintiffs’ Complaint, Centene has reported a profit of $1.2 billion for 2022, with full-year

revenue of $144.5 billion.3 There is no doubt that Defendants have more than enough

resources to produce the relevant information and documents requested by Plaintiffs.

       Importance of the discovery. Plaintiffs are seeking basic discovery without which

effective prosecution of this case is impossible: (1) the names and job titles of the persons for



   1
    See Expert Report of Adam E. Block, Ph.D., Duff v. Centene Corp., No. 1:19-cv-00750-
TSB (S.D. Ohio Aug. 15, 2022), ECF No. 39; Expert Report of Simone F. Haeder, PhD,
MPA, Angelo v. Centene Management Co., No. 1:20-cv-00484-RP (W.D. Tex. Oct. 21, 2022),
ECF No. 62-2.
   2
     Chris Kissell, Largest Health Insurance Companies 2023, FORBES (updated Jan. 3, 2023),
https://www.forbes.com/advisor/health-insurance/largest-health-insurance-companies/.
   3
     Paige Minemyer, Centene CEO says final Medicare Advantage risk adjustment rule leaves ‘open
questions,’ FIERCE HEALTHCARE (Feb. 7, 2023), https://www.fiercehealthcare.com/payers/
centene-posts-213m-loss-even-revenue-grows-q4.

                                              –9 –
   Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 10 of 12 PageID #:399




whom Defendants have preserved ESI; (2) custodians for which Defendants will collect,

review, and produce relevant documents; (3) information regarding the provenance of the

non-custodial documents produced thus far; and (4) that discovery cover the time period of

Defendants’ fraudulent scheme. Custodial documents such as email often reflect the

knowledge or intent of the author or recipient. Thus, custodial documents are essential to

proving that Defendants violated RICO because “[f]or a mail and wire fraud RICO violation

to exist there must have been intent to defraud.” Bankcard Am., Inc. v. Universal Bancard

Sys., Inc., 203 F.3d 477, 485 (7th Cir. 2000).

       Burden vs. Benefit. Plaintiffs are seeking basic discovery that will aid the parties and

the Court in “secur[ing] the just, speedy, and inexpensive determination of [this] action.”

Fed. R. Civ. P. 1. Defendants have offered no evidence of undue burden— only vague

assertions that it will cost a few thousand dollars per custodian to “pull” documents.

IV. Conclusion

       The discovery sought by Plaintiffs is reasonable, necessary to resolving the issues in

this action, exclusively in Defendants’ control, and imposes no undue burden on Defendants.

       Accordingly, Plaintiffs respectfully request that this Court grant Plaintiffs’ motion to

compel and order Defendants to: (1) produce the names and job titles of the persons for

whom Defendants have preserved ESI; (2) produce responsive documents from Plaintiffs’

proposed custodians; (3) provide information regarding the non-custodial documents

produced thus far; and (4) produce discovery from the requested time period.


Dated: March 10, 2023                                /s/ Kenneth A. Wexler
                                                     Kenneth A. Wexler
                                                     Justin N. Boley
                                                     Zoran Tasić
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                                                 –10 –
Case: 1:22-cv-04126 Document #: 47 Filed: 03/10/23 Page 11 of 12 PageID #:400




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                                    –11 –
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                                    –12 –
